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                                             UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

                                             CASE NO. 19-17549-BKC-RAM
                                             CHAPTER 13
IN RE:
DOMINIQUE CHRISTINE LALLEMAND,
       Debtor.
                                    /

   CERTIFICATE OF SERVICE OF APPLICATION FOR COMPENSATION FOR
 PROFESSIONAL SERVICES OR REIMBURSEMENT OF EXPENSES AND NOTICE
 OF HEARING AND CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 9073-
                               1(D)

      I HEREBY CERTIFY that a true and correct copy of the above APPLICATION
FOR COMPENSATION FOR PROFESSIONAL SERVICES OR REIMBURSEMENT OF
EXPENSES AND NOTICE OF HEARING thereon was served as follows via electronic
mail to Nancy Neidich, Trustee, at e2c801@ch13herkert.com and those set forth in the
NEF to be served electronically and was sent by U.S. Mail to Dominique C. Lallemand,
Debtor, 265 Grapetree Drive, Unit 127, Key Biscayne, FL 33149. this 19th day of
September of 2019.



      DATED: September 19, 2019

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                                      & Rodolfo H. De La Guardia, Jr.
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                                               /s/
                                        Michael A. Frank
                                        Florida Bar No. 339075
